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 Attorneys for Defendant Google LLC


                                     UNITED STATES DISTRICT COURT

                                  NORTHERN DISTRICT OF CALIFORNIA

                                             OAKLAND DIVISION


 LARRY GOLDEN,                             )                  Case No. 3:22-cv-05246-RFL
                                           )
    Plaintiff,                             )                  NOTICE OF WITHDRAWAL OF
                                           )                  VIRGINIA G. KAIN
 v.                                        )
                                           )
 GOOGLE LLC,                               )
                                           )
        Defendant.                         )
 _________________________________________ )


 TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

          PLEASE TAKE NOTICE that under Civil L.R. 5-1(c)(2)(C), Virginia G. Kain hereby withdraws

 as attorney for defendant Google LLC, as she is no longer an associate at Warren Kash Warren LLP.

 Warren Kash Warren LLP will continue to represent Google LLC in this matter.

 Date: January 19, 2024                                Respectfully submitted,


                                                       _______________________________________
                                                       Matthew S. Warren (State Bar No. 230565)
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                                                       Attorneys for Defendant Google LLC

                                                                                   Case No. 3:22-cv-05246-RFL
_____________________________________________________________________________________________________________
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                                                              NOTICE OF WITHDRAWAL OF VIRGINIA G. KAIN
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                                        CERTIFICATE OF SERVICE

 I, Francesca Miki Shima Germinario, certify as follows under 28 U.S.C. § 1746:

          I am an attorney at Warren Kash Warren LLP and admitted to practice before this Court. My

 business address is 2261 Market Street, No. 606, San Francisco, California, 94114. On January 19,

 2024, I served the foregoing Notice of Withdrawal of Virginia G. Kain by First Class Mail at the

 following address:

          Larry Golden
          740 Woodruff Road, No. 1102
          Greenville, South Carolina, 29607
 by placing it in a sealed envelope with postage paid and placing the envelope in the exclusive custody of

 the United States Postal Service.

          On the same day, I also sent a courtesy copy of this document by electronic mail to Mr. Golden

 at atpg-tech@charter.net.

          I certify under penalty of perjury that the foregoing is true and correct. Executed on

 January 19, 2024, at San Francisco, California.

                                                                  ______________________________
                                                                  Francesca M. S. Germinario




                                                                                   Case No. 3:22-cv-05246-RFL
_____________________________________________________________________________________________________________
  ___________________________________________________________________________________________________________________
                                                              NOTICE OF WITHDRAWAL OF VIRGINIA G. KAIN
